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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


UNITED STATES OF AMERICA,                           CR 21–28–BU–DLC

              Plaintiff,

       vs.                                                 ORDER

TAYLOR WIND SET,

              Defendant.


      Before the Court is Defendant Taylor Wind Set’s Unopposed Motion to

Permit Filing of Pretrial Motions and Request for Due Date. (Doc. 23.) Mr.

Windset was previously represented by Joslyn Hunt and moved to change his plea.

(Docs. 10; 15.) Counsel Michael Donahoe was substituted in for Ms. Hunt at the

change of plea hearing and it was vacated given his unfamiliarity with the case.

(Docs. 22; 23 at 2.) Counsel for Mr. Wind Set now seeks a reinstatement of the

motions deadline in the event it is decided any pretrial motions are necessary.

(Doc. 23 at 2.) Mr. Wind Set suggests a motions deadline of January 28, 2022.

(Id.) The United States does not object. (Id.)

      Accordingly, IT IS ORDERED the motion (Doc. 23) is GRANTED. Mr.

Wind Set shall file any motions on or before January 28, 2022. Any motions

practice shall proceed as outlined in the Court’s scheduling order (Doc. 13).

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DATED this 7th day of January, 2022.




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